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September 20, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH
       Motion for a Protective Order re Plaintiffs’ Request to Depose Mark Zuckerberg

Dear Magistrate Judge Hixson:
The parties respectfully submit this letter brief regarding Plaintiffs’ request to depose Mark
Zuckerberg, the founder, chairman, and Chief Executive Officer of Defendant Meta Platforms,
Inc. (“Meta”). Meta objects to Mr. Zuckerberg’s deposition, principally under the apex doctrine,
and seeks a protective order under Federal Rule of Civil Procedure 26(1). The parties met and
conferred regarding this issue on September 17, 2024.
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I.     DEFENDANT’S POSITION
Discovery has been open for ten months and closes in 10 days. Dkt. 87. Meta served its initial
disclosures in December 2023 and completed its disclosure of custodians in May 2024. Dkt. 137
at 2. Yet Plaintiffs did not notice any depositions until August 22, 2024, when they noticed
depositions of two Meta employees. Dkt. 137-1, ¶ 16 & Ex. G. Plaintiffs did not seek Mr.
Zuckerberg’s deposition until after 10:00 p.m. on Thursday, September 12. See Dkt. 149 at 1.
In a court filing earlier on September 12, Plaintiffs identified Mr. Zuckerberg as one of over two
dozen current and former employees whose depositions Plaintiffs might seek, see Dkt. 143 at 3-6,
if “warranted,” id. at 5. As their claimed basis for Mr. Zuckerberg’s deposition, Plaintiffs stated:
(1) “he is familiar with Meta’s choices of datasets and the decision to make Llama ‘open source;’”
(2) he “appears throughout Meta’s production and, based on Plaintiffs’ review of the production,
exercised ultimate control and authority over the development and distribution of the Llama
models;” and, (3) according to an April 6, 2024 New York Times article, Mr. Zuckerberg
“‘demanded a solution’ to the scarcity of available data dilemma, which ultimately le[d] to Meta’s
decision to take copyrighted data without permission.” Id. at 5 (quoting article).1
The next day, Meta wrote to Plaintiffs objecting to Mr. Zuckerberg’s deposition based on the apex
doctrine and requesting to meet and confer. Dkt. 149-1, ¶ 3 & Ex. A. During the September 17
meet and confer, Meta asked Plaintiffs if they had any basis for Mr. Zuckerberg’s deposition
beyond the statements in their filing (Dkt. 143). Plaintiffs’ counsel argued that the case law does
not require an apex witness to have unique knowledge to be deposed. They also highlighted
several documents from Meta’s production that, in their view, justify Mr. Zuckerberg’s deposition,
which they memorialized in an email sent that evening, attached hereto as Ex. A.2 Plaintiffs,
below, now cite additional documents, none of which support the deposition of Mr. Zuckerberg.
The Court should issue a protective order prohibiting this deposition under the apex doctrine.
“When a party seeks the deposition of a high-level executive (a so-called “apex” deposition),
courts have observed that such discovery creates a tremendous potential for abuse or harassment.”
Apple Inc. v. Samsung Elecs. Co., Ltd., 282 F.R.D. 259, 263 (N.D. Cal. 2012) (cleaned up); see,
e.g., Davis v. Pinterest, Inc., 2021 WL 11117688, at *1 (N.D. Cal. May 27, 2021). “In determining
whether to allow an apex deposition, courts consider (1) whether the deponent has unique first-
hand, non-repetitive knowledge of the facts at issue in the case and (2) whether the party seeking
the deposition has exhausted other less intrusive discovery methods.” Samsung, 282 F.R.D. at
263 (cleaned up); see also Finisar Corp. v. Nistica, Inc., 2015 WL 3988132, *1 (N.D. Cal. Jun.
30, 2015) (setting forth this framework). Here, the record does not support either required
showing. Having conducted no depositions before seeking Mr. Zuckerberg’s, and only two to
date, Plaintiffs lack any basis to assert that he has unique knowledge that cannot be obtained less
intrusively. Nor can Plaintiffs demonstrate that they have “exhausted other less intrusive discovery


1 Meta noted its objection to Mr. Zuckerberg’s deposition in that filing.  See Dkt. 143 at 11 n.11.
2
  Based on those arguments and documents, Meta prepared its portion of this letter yesterday
afternoon for simultaneous exchange. Plaintiffs’ next draft abandoned all but two of those
documents in favor of eight new ones. None of these documents support Plaintiffs’ request.
Moreover, Plaintiff has provided the Court only pages of these documents out of context. If the
Court is interested in further context for any of them, Meta can address if provided adequate time.
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methods,” including because they have not deposed witnesses Meta has identified as having
knowledge of the topics that Plaintiffs now claim they seek from Mr. Zuckerberg.
As Judge Chhabria recently commented, the primary issue in this case is fair use. See Dkt. 156
(“the only real legal question…is whether [Meta’s use of Plaintiff’s works] constituted ‘fair use’”).
Fair use will largely turn on the transformative nature of the AI models and the alleged effect on
the market for Plaintiffs’ books. Plaintiffs do not need a litany of depositions, let alone, Mr.
Zuckerberg’s deposition, to establish or defend these elements.
First, there is no showing that Mr. Zuckerberg “has unique first-hand, non-repetitive knowledge
of the facts at issue in the case.” Samsung, 282 F.R.D. at 263 (cleaned up). Plaintiffs are just
beginning to depose Meta witnesses and served their Rule 30(b)(6) notice this week (see Ex. B).
Plaintiffs cite to a handful of documents, see supra n.2, but provide no reason to conclude that Mr.
Zuckerberg has firsthand knowledge of facts others at Meta lack (even assuming relevance)—e.g.,
Meta’s plans for AI (Exs. K, N), its negotiations with business partners (Ex. G), or how its teams
are organized (Ex. J.) To the extent Plaintiffs seek discovery on Mr. Zuckerberg’s “thoughts or
motivations,” they have not explained why this is relevant to fair use. They claim that Meta’s
claimed “fervor” for AI is relevant to “how Meta intends to use Plaintiffs” works, but that Meta
using a dataset containing some of Plaintiffs’ works to train Llama is not in dispute. Similarly,
while the commercial or open source nature of Llama might be relevant to the fair use analysis,
who made the decision or how the decision came about is not. In any event, there has been no
showing that Plaintiffs need Mr. Zuckerberg’s deposition to obtain this information.
Plaintiffs weakly argue that Mr. Zuckerberg is “familiar with Meta’s choices of datasets and the
decision to make Llama ‘open source’” as a basis to depose him. Dkt. 143 at 5. Numerous Meta
employees are “familiar” with Meta’s choices of datasets. For instance, on September 17,
Plaintiffs deposed Ms. Kambadur, a Research Engineering Manager, “concerning background,
development, and use of Llama 2 and 3 by Meta, including dataset selection and risk mitigations.”
Dkt. 143 at 4, 11. Mr. Zuckerberg did not come up. Plaintiffs’ 30(b)(6) notice seeks a witness on
“Meta’s curation of datasets to train its [LLMs],” which Meta will provide. Otherwise, the decision
to “open source” Llama is a red herring—it is not even among Plaintiffs’ Rule 30(b)(6) topics.
Moreover, in May, Meta identified Yann LeCun as having knowledge of “Meta’s decision to
release Llama models under an open license.” See Ex. C. Only after receiving Meta’s portion fo
this letter did Plaintiffs seek to depose Mr. LeCun. Admittedly, they do not need Mr. Zuckerberg.
Plaintiffs attempt to justify Mr. Zuckerberg’s deposition because of his alleged “control and
authority” over the development and distribution of Llama. Dkt. 143 at 5. Were this reasoning
enough to justify taking his deposition, the apex doctrine would be rendered meaningless, as any
CEO exercises control and authority over a company’s key offerings. Meta previously identified
Joelle Pineau, Vice President of AI Research, as having “oversight of Meta’s Fundamental AI
Research (“FAIR”) team, including regarding Llama 1” and Ahmad Al-Dahle, Vice President of
Gen AI, as having “oversight of Meta’s Generative AI (“Gen AI”) team, including regarding Llama
2 and Llama 3.”3 Ex. C. And if Plaintiffs truly want to rely on New York Times reporting, then
Mr. Al-Dahle was also among other high-level executives identified in that article. Ex. D.


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    Meta is providing Mr. Al-Dahle for deposition. Plaintiffs did not seek to depose Ms. Pineau.
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Second, Plaintiffs have wholly failed to “exhaust[] other less intrusive discovery methods.”
Samsung, 282 F.R.D. at 263. As of the date of this filing, they have taken only two depositions
and have several remaining depositions of other witnesses to obtain the information they seek.
Months ago, Meta provided Plaintiffs with datasets and subsequently, documents relating to the
decision to make Llama open source. This case is categorically different from Finisar, cited below,
in which the party seeking the apex deposition tried to obtain the information at issue from
“numerous other depositions,” to no avail. Finisar, 2015 WL 3988132 at *3; see id. at *4.
This case is also unlike In re Apple Iphone Antitrust Litigation, in which this Court permitted a 7-
hour deposition of Apple’s CEO, Tim Cook. See 2021 WL 485709, at *3 (N.D. Cal. Jan. 26,
2021). The Court viewed that dispute as not whether the deposition should occur, but its length,
given that Apple offered four hours. See id. Here, there is no basis for any deposition of Mr.
Zuckerberg. Moreover, Apple relied on a business justification defense that is “ultimately a matter
of corporate opinion and judgment.” Id. Mr. Cook’s “unique, non-repetitive knowledge” of “the
competition [Apple] faces and important aspects of its business model” were directly implicated
by the antitrust claims in that case. Id. Here, Meta has not relied on a business justification
defense, nor is this case a challenge to Meta’s business model. To the contrary, this case will hinge
on the fair use factors—matters about which others at Meta will be able to testify. See Dkt. 156.
At the end of the day, given their lack of any substantiation for their belief that Mr. Zuckerberg
has any special knowledge of this dispute and their failure to undertake other discovery first to
find out, it appears that Plaintiffs’ eleventh-hour request for Mr. Zuckerberg’s deposition is simply
because it “would be burdensome, inconvenient, and highly visible to the company.” Davis, 2021
WL 11117688, at *1. This is impermissible. The motion for protective order should be granted.
II.    PLAINTIFFS’ POSITION

The decision-makers who directly set policy and implement strategy with respect to Meta’s Large
Language Models (“LLMs”) are critical witnesses in this case. Mark Zuckerberg is at the top of
that list.4 But Mr. Zuckerberg is the chief decision maker and policy setter for Meta’s Generative
AI branch and importantly, the development of the LLMs at issue in this Action. Meta’s documents
reveal that he personally issued directives guiding the development and sale of Meta’s generative
AI products and leading efforts to employ them as revenue streams. Mr. Zuckerberg has unique,
first-hand knowledge regarding Meta’s LLMs that is unavailable from any other source. He is a
critical percipient witness. The Court should deny Meta’s request to prevent the deposition of its
CEO Mark Zuckerberg.56



4
  Ex. D, Cade Metz, How Tech Giants Cut Corners to Harvest Data for A.I., N.Y. Times, Apr. 6,
2024, at 15-16.
5
  To dispel Meta’s mischaracterization: Plaintiffs’ position at the September 17 meet and confer
was not “case law does not require that an apex witness have unique knowledge to be deposed.”
Plaintiffs cited Finisar stating that Plaintiffs “need not prove conclusively that the deponent
certainly has unique non-repetitive information” as well as providing numerous Meta produced
documents to make clear that Mr. Zuckerberg has unique information.
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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.


Dated: September 20, 2024                                     COOLEY LLP


                                                              /s/ Kathleen Hartnett
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